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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                             CR 20–04–BU–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 GERALD BERNARD WHITE, JR.,

                      Defendant.

      United States Magistrate Judge Kathleen L. DeSoto entered Findings and

Recommendation in this matter on April 21, 2020. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge DeSoto recommended this Court accept Gerald Bernard White, Jr.’s

guilty plea after White appeared before her pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to possession with intent to distribute

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methamphetamine in violation of 21 U.S.C. § 841(a)(1) (Count I), and possession

of a firearm in furtherance of a drug trafficking offense, in violation of 18 U.S.C. §

924(c)(1)(A) (Count II), as set forth in the Superseding Information. Defendant

further agrees to the forfeiture allegation in the Superseding Information.

      I find no clear error in Judge DeSoto’s Findings and Recommendation (Doc.

45), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Gerald Bernard White, Jr.’s motion to

change plea (Doc. 35) is GRANTED and Gerald Bernard White, Jr. is adjudged

guilty as charged in the Superseding Information.

      DATED this 6th day of May, 2020.




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